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                UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF GEORGIA
                    STATESBORO DIVISION

GARY LENION MCDONALD,                  )
    Movant,                            )
v.                                     )          Case No. CV616-099
                                       )                   CR612-005
UNITED STATES OF AMERICA,              )
     Respondent.                       )
                                  ORDER

      Let a copy of this Report and Recommendation be served upon counsel for

the parties. Any objections to this Report and Recommendation must be filed

with the Clerk of Court not later than September 13, 2016. The Clerk shall

submit this Report and Recommendation together with any objections to the

Honorable J. Randal Hall, United States District Judge, on September 14, 2016.

Failure to file an objection within the specified time means that this Report and

Recommendation may become the opinion and order of the Court, Nettles v.

Wainwright, 677 F.2d 404 (5th Cir. 1982), and further waives the right to appeal

the District Court's Order. Thomas v. Arn, 474 U.S. 140 (1985).

      All requests for additional time to file objections to this Report and

Recommendation should be filed with the Clerk for consideration by the District

Judge to whom this case is assigned.

      SO               this 30th day of August, 2016.

                                                      -;



                                                    UNITED STATES MAGISTRATE JUDGE
                                                    SOUTFfE1N DISTRICT OF GEORGIA
